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                                   UNITED STATES DISTRICT COURT

                                            DISTRICT OF MAINE

NICHOLAS A. GLADU,                           )
                                             )
           Plaintiff,                        )
                                             )
v.                                           )        2:15-cv-00274-DBH
                                             )
TROY ROSS, et al.,                           )
                                             )
           Defendants.                       )

                   RECOMMENDED DECISION ON MOTION TO DISMISS OF
                         DEFENDANT TROY ROSS (ECF No. 16)

           In this action, Plaintiff Nicholas Gladu, an inmate at the Maine Correctional Center, alleges

that he was assaulted by a corrections officer while he was assigned to the Maine State Prison.

The matter is before the Court on the Motion to Dismiss of Defendant Troy Ross. (ECF No. 16.)

           As explained below, following a review of the motion, and after consideration of the

parties’ written arguments, I recommend that the Court deny the motion.1

                                                   Background

           The facts set forth herein are derived from Plaintiff’s complaint, which facts are deemed

true when evaluating Defendant’s motion to dismiss.2 Beddall v. State St. Bank & Trust Co., 137

F.3d 12, 16 (1st Cir. 1998).

           Plaintiff is currently incarcerated at the Maine Correctional Center. At the time of the

incident that is the subject of this action, Plaintiff was an inmate assigned to the Special

Management Unit at the Maine State Prison. (Complaint ¶ 4.)



1
    The Court referred the motion for report and recommended decision.
2
 The reference to the facts as alleged should not be construed as a determination that the alleged facts are accurate.
The alleged facts are recited in the context of the standard of review for a motion to dismiss.
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       According to Plaintiff’s submissions, on June 28, 2014, Defendant Christopher Gowen, a

corrections officer, repeatedly and purposefully, with “immense force,” slammed the steel hatch

of the tray slot on Plaintiff’s cell door into Plaintiff’s hand, causing significant injury. (Id. ¶¶ 26

– 27, 36; Motion to Substitute Party, ECF No. 25 (substituting Defendant Gowen for the John Doe

defendant named in the complaint); Order Granting Motion to Substitute, ECF No. 27.) Following

the incident, Defendant Gowen “admitted to another officer that he wasn’t familiar with the use of

force policy at all and stated, ‘I thought we were allowed to do that.’” (Complaint ¶ 30.) Defendant

Gowen allegedly also told another officer that he “had not yet been trained in the Department’s

use of force policy and/or procedure.” (Plaintiff’s Response to Motion to Dismiss at 2, ECF No.

23.)

       Defendant Troy Ross at all times relevant to Plaintiff’s action was Deputy Warden of

Security at the Maine State Prison and in that capacity, according to Plaintiff, was responsible for

the training and supervision of all corrections officers at the Prison. (Complaint ¶ 5.)

                                        Standard of Review

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), a party may seek dismissal of “a

claim for relief in any pleading” if that party believes that the pleading fails “to state a claim upon

which relief can be granted.” In its assessment of the motion, a court must “assume the truth of

all well-plead facts and give the plaintiff[] the benefit of all reasonable inferences therefrom.”

Blanco v. Bath Iron Works Corp., 802 F. Supp. 2d 215, 221 (D. Me. 2011) (quoting Genzyme

Corp. v. Fed. Ins. Co., 622 F.3d 62, 68 (1st Cir. 2010)). To overcome the motion, a plaintiff must

establish that his allegations raise a plausible basis for a fact finder to conclude that the defendant

is legally responsible for the claim at issue. Id.




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                                            Discussion

        Through his motion to dismiss, Defendant Ross contends that dismissal is appropriate

because Plaintiff has failed to allege that Defendant was personally involved in the incident, and

has failed to allege that Defendant was aware that Defendant Gowen would engage in the alleged

conduct.   (Motion at 3.)    Defendant also asserts that Plaintiff’s conclusory allegation that

Defendant failed to train and supervise his subordinates lacks the necessary facts to state a claim.

(Id.)

        In response to Defendant’s motion, Plaintiff argues that “Defendant Ross failed to train

[Defendant Gowen] in the Department’s use of force protocol, thus setting in motion a series of

acts by others, which he knew or reasonably should have known would cause others to inflict

constitutional injury.” (Response at 4, ECF No. 23.) Defendant Ross, however, maintains that

Plaintiff’s allegations describe nothing more than “a random assault” that Defendant Ross could

not have anticipated. (Reply at 3.)

        Under the federal civil rights act, 42 U.S.C. § 1983, a supervisory official may be held

liable for the behavior of a subordinate if (1) the behavior of the subordinate results in a

constitutional violation, and (2) the supervisory official’s action or inaction was affirmatively

linked to the behavior. Estate of Bennett v. Wainwright, 548 F.3d 155, 176 – 77 (1st Cir. 2008).

An affirmative link can be shown through supervisory encouragement, condonation or

acquiescence, or by gross negligence amounting to deliberate indifference. Id. The applicable

standard “contemplates proof that the supervisor’s conduct led inexorably to the constitutional

violation.” Pineda v. Toomey, 533 F.3d 50, 54 (1st Cir. 2008) (quoting Hegarty v. Somerset Cnty.,

53 F.3d 1367, 1380 (1st Cir. 1995)).




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       In an action based on the failure to train, “[a] pattern of similar constitutional violations by

untrained employees is ‘ordinarily necessary’ to demonstrate deliberate indifference.” Connick v.

Thompson, 563 U.S. 51, 131 S. Ct. 1350, 1360 (2011). The presence of a pattern, rather than an

isolated instance, is ordinarily required because “the existence of a pattern of tortious conduct by

inadequately trained employees may tend to show that the lack of proper training, rather than a

one-time negligent administration of the program or factors peculiar to the officer involved in a

particular incident, is the ‘moving force’ behind the plaintiff’s injury.” Bd. of Cnty. Comm’rs of

Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 407 – 408 (1997) (holding that solitary failure of sheriff

to follow pre-hire employee screening procedure did not support the inference of deliberate

indifference that is required to support a municipal liability claim). As the Court noted in Brown,

the “continued adherence to an approach that [policy-making officials] know or should know has

failed to prevent tortious conduct by employees may establish the conscious disregard for the

consequences of their action—the ‘deliberate indifference’—necessary to trigger municipal

liability.” Id. at 407. Without the pattern, ordinarily, the inference of culpability greater than

negligence is strained. Id.

       The Supreme Court, however, has not “foreclose[d] the possibility that evidence of a single

violation of federal rights, accompanied by a showing that a municipality has failed to train its

employees to handle recurring situations presenting an obvious potential for such a violation, could

trigger municipal liability.” Id. at 409. A single incident could constitute a constitutional

deprivation “in a narrow range of circumstances [in which] a violation of federal rights may be a

highly predictable consequence of a failure to equip law enforcement officers with specific tools

to handle recurring situations.” Id. (citing Canton v. Harris, 489 U.S. 378 (1989)).




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       In Canton, in vacating a judgment against a municipal defendant where liability was based

on a failure to train, the Supreme Court provided some guidance that is relevant to the assessment

of Plaintiff’s claim. The Court noted that a complete failure to provide officers with training on

the use of deadly force would present an “obvious” deliberate indifference scenario where “city

policymakers know to a moral certainty that their police officers will be required to arrest fleeing

felons.” Id. at 390 n.10. In Young v. City of Providence ex rel. Napolitano, 404 F.3d 4, 28 (1st

Cir. 2005), the First Circuit, citing Canton, observed, “[t]he Supreme Court has left open the

possibility that a failure-to-train claim can succeed without showing a pattern of previous

constitutional violations …. in a narrow range of circumstances, where “a violation of [a] federal

right[ ]” is “a highly predictable consequence of a failure to equip law enforcement officers with

specific tools to handle recurring situations.” Id. (some internal quotation marks omitted) (quoting

Brown, 520 U.S. at 409, and citing Canton, 489 U.S. at 390 & n. 10). The law thus recognizes

that where a responsible party fails to provide any training despite the knowledge that the party’s

subordinates will be confronted with situations that require training, that party can be liable for a

resulting constitutional violation based on a deliberate indifference finding.

       To establish deliberate indifference, Plaintiff must demonstrate that Defendant Ross

“supervise[d], train[ed], or hire[d] a subordinate with deliberate indifference toward the possibility

that deficient performance of the task eventually may contribute to a civil rights deprivation.’”

Sanchez v. Pereira-Castillo, 590 F.3d 31, 49 (1st Cir. 2009) (quoting Camilo–Robles v. Zapata,

175 F.3d 41, 44 (1st Cir. 1999)). Here, Plaintiff alleges that Defendant Ross oversees the Maine

State Prison’s training program, and failed to train Defendant Gowen. Plaintiff, however, must do

“more than assert a legal conclusion about the involvement of the administrative correctional

defendants in the underlying constitutional violation.” Id. In particular, Plaintiff must allege facts



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that would support a claim that Defendant Ross “overlooked a clear risk of future unlawful action

by a lower-echelon actor over whom he had some degree of control.” Camilo–Robles, 175 F.3d

at 44.

         In his complaint, Plaintiff asserts that a corrections officer whom Defendant Ross was

responsible to train (Defendant Gowen) admitted that he was not familiar with the prison’s use of

force policy. While Plaintiff does not explicitly allege in his complaint a complete lack of training,

at this stage of the proceedings, Plaintiff’s complaint can reasonably be construed to assert such a

claim.3 Consistent with this view, in his response to the motion to dismiss, Plaintiff asserts that

Defendant Gowen told another officer that he “had not yet been trained in the Department’s use of

force policy and/or procedure.” (Plaintiff’s Response to Motion to Dismiss at 2, ECF No. 23.) 4

The assignment of a completely untrained individual to supervise, monitor, or otherwise interact

with inmates in the special management unit of a state prison can fairly be deemed to fall within

the limited circumstances contemplated by the Supreme Court in Canton and the First Circuit in

Young, where a pattern of constitutional deprivations is not a necessary predicate to liability based

on a failure to train. Because Plaintiff’s filings can be construed to assert that Defendant Ross

failed to provide Defendant Gowen with any training, and that Defendant Gowen was assigned,

without training, to a special management unit of the Maine State Prison, Plaintiff has stated a

claim against Defendant Ross.



3
 Because Plaintiff is a pro se litigant, his complaint is subject to “less stringent standards than formal pleadings drafted
by lawyers.” Haines v. Kerner, 404 U.S. 519, 520 (1972).
4
  This Court has construed complaints filed by pro se litigants in light of supplemental factual representations
contained in responses to motions to dismiss. E.g., Wall v. Dion, 257 F. Supp. 2d 316, 318 (D. Me. 2003) (citing Gray
v. Poole, 275 F.3d 1113, 1115 (D.C. Cir. 2002)); Bridges v. Ouellette, No. 2:13-CV-00082-NT, 2013 WL 5755588,
at *4 (D. Me. Oct. 23, 2013). See also Smith v. Dart, --- F.3d ---, No. 14-1169, 2015 WL 5656844, at *5 (7th Cir.
Sept. 25, 2015) (finding that the district court should have considered letters filed by pro se party, which contained
additional factual representations, when ruling on a motion to dismiss).


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                                            Conclusion

       Based on the foregoing discussion, I recommend that the Court deny the Motion to Dismiss

of Defendant Ross. (ECF No. 16.)

                                             NOTICE

          A party may file objections to those specified portions of a magistrate judge’s
       report or proposed findings or recommended decisions entered pursuant to 28
       U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
       days after the filing of the objection.

          Failure to file a timely objection shall constitute a waiver of the right to de novo
       review by the district court and to appeal the district court’s order.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

Dated this 29th day of October, 2015.




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